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                                        UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETTS
                                              (BOSTON DIVISION)

                                                  CASE NO. 17-CR-10265

UNITED STATES OF AMERICA,          :
                                   :
                Plaintiff,         :
                                   :
v.                                 :
                                   :
SALLY ANN JOHNSON,                 :
                                   :
                Defendant.         :
...................................:

                                   MOTION FOR PERMISSION TO TRAVEL

          The Defendant, SALLY ANN JOHNSON, through undersigned counsel,

respectfully requests that this Honorable Court grant the Defendant permission to travel

to Miami, Florida, from Saturday, November 18, 2017, to Tuesday, November 28, 2017.

In support, the Defendant states as follows:

          1.         The Defendant has been on bond and has complied with all conditions

thereof.

          2.         The Defendant requests permission to travel with her family to Miami,

Florida, from Saturday, November 18, 2017, to Tuesday, November 28, 2017. The

Defendant will be spending the Thanksgiving holiday with her domestic partner and

children. The Defendant will also be meeting with her attorneys while in Miami, Florida.

The Defendant will provide her Pretrial Services Officer with all of her trip information.

          3.         Pursuant to Local Rule 7.1 (a)(2), the Assistant United States Attorney

assigned to this matter advised that he does not object to the instant request. United

States Pretrial Officer Lea Harmon does not oppose the instant request.

                                                                    -1-
LAW OFFICES OF PAUL D. PETRUZZI, P.A., 169 EAST FLAGLER STREET., SUITE 1241, MIAMI, FLORIDA 33131 ● (305) 373-6773; FACSIMILE: (305) 373-3832
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          WHEREFORE, the Defendant, SALLY ANN JOHNSON, through undersigned

counsel, respectfully requests that this Honorable Court grant the Defendant permission

to travel to Miami, Florida, from Saturday, November 18, 2017, to Tuesday, November

28, 2017.

                                                                           Respectfully submitted,

                                                                           LAW OFFICES OF PAUL D. PETRUZZI, P.A.
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                                                                           E-mail: petruzzi-law@msn.com

                                                                           By:        s/ Paul Petruzzi
                                                                                      PAUL D. PETRUZZI, ESQ.
                                                                                      Florida Bar No. 982059

                                              CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 8, 2017, a true and correct copy of the

foregoing was furnished by CM/ECF to all counsel of record.

                                                                           By:        s/ Paul Petruzzi
                                                                                      PAUL D. PETRUZZI, ESQ.
                                                                                      Attorney for Defendant




                                                                    -2-
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